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        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 16-0698V
                                    Filed: February 13, 2017
                                         UNPUBLISHED

****************************
JOSEPH BRUNNER,            *
                           *
              Petitioner,  *
v.                         *
                           *                               Attorneys’ Fees and Costs;
SECRETARY OF HEALTH        *                               Special Processing Unit (“SPU”)
AND HUMAN SERVICES,        *
                           *
              Respondent.  *
                                                  *
****************************
John Howie, Jr., Howie Law, P.C., Dallas, TX, for petitioner.
Linda Renzi, U.S. Department of Justice, Washington, DC, for respondent.

                      DECISION ON ATTORNEYS’ FEES AND COSTS1

Dorsey, Chief Special Master:

        On June 14, 2016, Joseph Brunner (“petitioner”) filed a petition for compensation
under the National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et
seq.,2 (the “Vaccine Act” or “Program”). Petitioner alleged that he suffered a shoulder
injury related to vaccine administration (“SIRVA”) caused-in-fact by the influenza
vaccine he received on September 28, 2015. Petition at 1, ¶¶ 1, 3, 15. On November
29, 2016, the undersigned issued a decision awarding compensation to petitioner based
on respondent’s proffer to which petitioner agreed. (ECF No. 21).




1 Because this unpublished decision contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.

2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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        On January 18, 2017, petitioner filed a motion for attorneys’ fees and costs.
(ECF No. 25). Petitioner requests attorneys’ fees in the amount of $10,640.00 and
attorneys’ costs in the amount of $649.46 for a total amount of $11,289.46. Id. at 1. In
compliance with General Order #9, petitioner has filed a signed statement indicating
petitioner incurred no out-of-pocket expenses. See General Order #9 Statement, filed
as the Second Attachment to Petitioner’s Motion for Attorneys’ Fees and Costs (ECF
No. 25). Respondent did not file a response to petitioner’s motion.

      The undersigned has reviewed the billing records submitted with petitioner’s
request. In the undersigned’s experience, the request appears reasonable, and the
undersigned finds no cause to reduce the requested hours or rates.

      The Vaccine Act permits an award of reasonable attorneys’ fees and costs.
§ 15(e). Based on the reasonableness of petitioner’s request, the undersigned
GRANTS petitioner’s motion for attorneys’ fees and costs.

      Accordingly, the undersigned awards the total of $11,289.463 as a lump
sum in the form of a check jointly payable to petitioner and petitioner’s counsel
John Howie, Jr.

        The clerk of the court shall enter judgment in accordance herewith.4

IT IS SO ORDERED.

                                                          s/Nora Beth Dorsey
                                                          Nora Beth Dorsey
                                                          Chief Special Master




3This amount is intended to cover all legal expenses incurred in this matter. This award encompasses all
charges by the attorney against a client, “advanced costs” as well as fees for legal services rendered.
Furthermore, § 15(e)(3) prevents an attorney from charging or collecting fees (including costs) that would
be in addition to the amount awarded herein. See generally Beck v. Sec’y of Health & Human Servs.,
924 F.2d 1029 (Fed. Cir.1991).

4 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

                                                     2
